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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Nevest Coleman
                                Plaintiff,
v.                                                   Case No.: 1:18−cv−00998
                                                     Honorable Martha M. Pacold
City of Chicago, et al.
                                Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 7, 2020:


         MINUTE entry before the Honorable Sunil R. Harjani: Status hearing previously
set for 7/8/2020 is stricken and reset to 9/29/2020 at 9:15 a.m. The Court has reviewed the
joint status report [209]. The parties have reserved multiple dates for depositions
throughout the end of September 2020 and agree that some depositions will take place
in−person, while some depositions will take place remotely. The parties are ordered to
meet the dates that they identified and complete the depositions listed before the next
status hearing. The parties additionally provided answers to the Courtss questions from its
order on 5/21/2020 [207] regarding expert and Monell discovery. As a result of the
answers provided by the parties, the Court will set a dispositive motion deadline for
motions to be filed before the district judge once all non−Monell fact discovery is
completed. The parties are ordered to file a joint status report five days prior to the next
status hearing with an update on discovery as well as a proposed fact discovery close date
on the non−Monell claims. Mailed notice(lxs, )




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